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                                  UPTIME ARMORY, LLC
                             SALE AND PURCHASE AGREEMENT

          This Sale and Purchase Agreement ("Agreement") is entered into and effective as of
   October 1, 2021 ("Effective Date"), by and between Uptime Armory, LLC (the "Company"), a
   Florida limited liability company with its principal place of business located at 12301 NW 112
   Ave Suite 112, Medley, FL 33178 and BEEQB LLC (the "Buyer"), a Florida limited liability
   company with its principal place of business located at 1830 S Ocean Dr, Hallandale Beach, FL,
   33009 (collectively "Parties"; individually "Party").

                                             Recitals

   WHEREAS, the Company primarily engages in the business of selling certain cryptocurrency
   mining equipment;

   WHEREAS, the Buyer engages in the business of cryptocurrency mining;

   WHEREAS, the Company wishes to sell to the Buyer, and the Buyer wishes to purchase from
   the Company, the cryptocurrency mining equipment defined herein, subject to the terms and
   conditions set forth herein;

   NOW, THEREFORE, in consideration of the foregoing recitals and the mutual covenants and
   obligations contained in this Agreement, including the payment of fees and other good and
   valuable consideration contained herein, the Parties agree as follows:

                                            Agreement

   1.     Sale and Purchase of Equipment.

          a.     The quantity and description of the cryptocurrency mining equipment
                 subject to this Agreement ("Equipment") shall be as set out in Schedule A
                 attached hereto.

          b.     The Company reserves the right to make any changes in the specification
                 of the Equipment which may be required to conform with any applicable
                 laws and regulations or which do not materially affect their quality or
                 performance.

   2.     Purchase Price.




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        a.    Purchase Price. As full consideration for the Equipment and for all
              obligations specified herein, the Buyer shall render payment of the sum of
              eight hundred and seventy five thousand U.S. dollars ($875,000.00) (the
              "Purchase Price").

        b.    Taxes. The Purchase Price excludes any tax(es). If applicable, the Buyer
              shall render payment of any sales and/or use taxes to the Company.

        c.    Additional Costs. All prices are exclusive of transfer, delivery, packaging,
              packing, shipping, carriage, insurance, and other charges and duties and
              importation costs. The Buyer shall be solely liable for all such costs.

   3.   Payment.

        a.    Deposit. The Buyer shall pay the Company a non-refundable deposit of
              six hundred fifty six thousand two hundred and fifty U.S. dollar
              ($656,250.00) representing seventy-five (75%) of the Purchase Price, as
              well as all applicable taxes within seven (7) business days of the Effective
              Date. Such deposit shall be credited towards the Purchase Price.

        b.    Remainder. The Buyer shall pay the Company two hundred eighteen
              thousand seven hundred and fifty U.S. dollars ($218,750.00) (representing
              the final twenty-five percent (25%) of the Purchase Price), within five (5)
              business days after the Company renders the Buyer the Notice of
              Completion of the Equipment, which notice the Company shall deliver via
              email.

        c.    Failure to Pay. In the event the Buyer fails to make timely payment(s) in
              accordance with the provisions of this Section, the entirety of the balance
              of the Purchase Price then outstanding shall become immediately due and
              payable and, without prejudice to any other right or remedy available to
              the Company, the Company shall have the right to:

              i.     Charge interest on the amount outstanding from the
                     applicable missed deadline (whether or not after judgment),
                     at the monthly rate of the lesser of one percent (1%) of the
                     Purchase Price, accruing on a daily basis and being
                     compounded monthly until payment is made, or the highest
                     rate permitted by law, whether before or after any
                     judgment;



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               ii.    Suspend all further manufacture, transfer, delivery,
                      installation, or warranty service concerning any Equipment
                      subject to this Agreement, or any other agreements between
                      the Parties, until payment has been made in full;

               iii.   Apply a storage charge for any undelivered Equipment at a
                      rate of one percent (1 %) of the Purchase Price per calendar
                      month; and

               iv.    Terminate this Agreement.

        d.     Equipment Forfeiture. In the event the Buyer fails to render any timely
               payment(s) required under this Section within ninety (90) calendar days of
               the Commencement Date (as herein defined), the Buyer shall forfeit the
               Equipment, and title to the Equipment shall remain with the Company.

        e.     Deficiency Set-off. The Company may, without prejudice to any other
               rights it may have, set off any liability of the Buyer to the Company
               against any liability of the Company to the Buyer.

   4.   Inspection and Transfer of Equipment.

        a.     Company Inspection. The Company shall test and inspect the Equipment
               prior to issuing the Notice of Completion of the Equipment to ensure the
               Equipment complies with the requirements of the Agreement and
               applicable law.

        b.     Buyer Inspection. Following the issuance of the Notice of Completion of
               the Equipment, the Buyer may inspect the Equipment for thirty (30)
               calendar days prior to transfer; provided, however, that the Buyer shall
               provide the Company notice of no less than five (5) calendar days of its
               intention to inspect the Equipment.

        c.     Transfer.

               i.     The Equipment shall be transferred from the Company to
                      the Buyer at the Company's location as determined by the
                      Company.

               ii.    The Buyer shall take possession of the Equipment within
                      thirty (30) calendar days of the Company issuing the Notice
                      of Completion of the Equipment. In the event the Buyer

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                    notifies the Company of its intent to inspect the Equipment
                    in accordance with Section 4(b) when fewer than five (5)
                    calendar days remain of the thirty (30) calendar day period,
                    the thirty (30) calendar day period shall be extended by as
                    many days as are needed to complete the five (5) calendar
                    day notice period. In no event shall the transfer period be
                    more than thirty-five (35) calendar days, unless otherwise
                    agreed to by the Parties.

             111.   The Company shall be responsible (at the Buyer's cost) for
                    preparing the transfer location for the Equipment and for
                    the provision of all necessary access and facilities
                    reasonably required for the Buyer to take possession of and
                    install the Equipment. The Buyer shall approve the transfer
                    location prior to the commencement of the transfer, which
                    approval the Buyer shall not unreasonably withhold.

             iv.    In the event the Buyer fails to take possession over the
                    Equipment within the transfer period stated in this
                    Subsection, the Company shall have the right to assess a
                    monthly storage charge of one percent (1 %) of the
                    Purchase Price.

             v.     In the event the Buyer fails to take possession over the
                    Equipment within ninety (90) calendar days of the
                    expiration of the transfer period stated in this Subsection,
                    the Buyer shall forfeit the Equipment.

        d.   Title. Title over the Equipment shall transfer from the Company to the
             Buyer upon the transfer of the Equipment.

        e.   Risk of Loss. Risk of damage or loss to the Equipment shall transfer from
             the Company to the Buyer upon the transfer of the Equipment.

        f.   Transfer via Company Delivery. In the event the Parties agree in writing,
             the Company may deliver the Equipment to a location as agreed to by the
             Parties. In such an event, the Company shall provide the Buyer a quote for
             shipping rates and shall not commence delivery until such rates have been
             paid in full by the Buyer. In the event the Buyer does not approve such
             shipping rates, the Buyer may organize the shipping of the Equipment;
             provided, however, that the Buyer shall ensure delivery of the Equipment
             is completed within ninety (90) calendar days of the date of the applicable

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              purchase order. The Buyer shall ensure the agreed-upon location has met
              all technical requirements necessary to operate the Equipment and
              contains all required installation equipment and machinery. The Company
              may send up to two (2) technicians to the delivery location to install the
              Equipment, for a maximum of two (2) working days, at no additional cost
              to the Buyer. If there is a delay in installing the equipment due
              circumstances outside of the Company's control, then the Buyer shall
              reimburse the Company for any additional reasonable and documented
              costs associated with the installation, including travel, accommodations,
              meals, and salaries for any days beyond the initial two (2) days at the
              Buyer's Facility, within ten (10) calendar days. Failure of the Buyer to
              adhere to the provisions of this Subsection shall result in forfeiture of the
              Equipment.

   5.   Representations, Warranties and Acknowledgements of the Company.

        a.    Company Warranties. The Company warrants and represents to the Buyer
              that the structural components of the Equipment are free from defects of
              workmanship and materials and that, under normal use and conditions, the
              Equipment will operate substantially as it is intended to perform for a
              period of thirty (30) calendar days following transfer. The Company
              undertakes (subject to the remainder of this Section), at its option, to repair
              the frame of the Equipment (including with refurbished parts or
              refurbished Equipment) which is found to be defective as a result of faulty
              materials or workmanship within thirty (30) calendar days of transfer. Any
              repaired, refurbished, or replacement Equipment shall be under warranty
              for the unexpired portion of the thirty (30) calendar day period.
              Component parts shall be under the original limited manufacturer's
              warranty. The Company shall furnish information concerning the original
              limited manufacturer's warranty to the Buyer within five (5) business days
              of having received a request for such information from the Buyer.

        b.     Failure to Issue Notice of Completion of the Equipment. In the event the
               Company does not issue the Notice of Completion of the Equipment
               within six (6) calendar months of the Estimated Completion Date (as
               defined in Schedule A) due to the intentional acts or omissions of the
               Company, the Buyer may terminate this Agreement, in whole or in part,
               and/or refuse to take possession of any subsequent Equipment which the
               Company attempts to arrange.




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        c.   Component Warranties Waiver. The Buyer acknowledges that all
             components of the Equipment are warranted only in accordance with the
             limited warranty provided by the manufacturers, that the Company is
             passing through to the Buyer only the manufacturer's warranty for the
             goods, and that the Buyer shall look solely to the manufacturer of the
             goods for all warranty claims and defects. The Buyer hereby waives,
             releases, and renounces all other warranties, guarantees, representations,
             obligations and liabilities of Company and acknowledges that THE
             COMPANY MAKES NO WARRANTY, EITHER EXPRESS OR
             IMPLIED, AND MAKES N O WARRANTIES OF
             MERCHANTABILITY OR ANY WARRANTY OF FITNESS FOR
             PARTICULAR PURPOSE.

        d.   Warranties May Be Void. Given that component parts may not be designed
             to serve the end-purpose of the Equipment due to the Equipment's
             specialized nature, the COMPANY MAKES NO WARRANTY THAT
             THE COMPONENT PARTS' LIMITED WARRANTIES HAVE NOT
             BEEN VOIDED DUE TO THE USE OF THE COMPONENT WITHIN
             THE EQUIPMENT AND BUYER AGREES TO ASSUME THE RISK
             OF VOIDING THE COMPONENT PARTS' LIMITED WARRANTY BY
             USING THE EQUIPMENT.

        e.   Equipment Not Operated at Company Affiliated Location. In the event any
             Equipment will not be operated at the Company's facilities, or facilities
             operated by the Company's affiliates or subsidiaries, the Company shall
             not, under any circumstances, be liable for a breach of the warranty or
             undertake any warranty service contained in this Section unless:

             i.     The Buyer gives written notice of the defect to the
                    Company within seven (7) calendar days from the time the
                    Buyer discovers or should have discovered the defect; and

             ii.    After receiving the notice, the Company is provided a
                    reasonable opportunity to examine such Equipment for the
                    defect or malfunction, and the Buyer follows the
                    Company's commercially reasonable instructions in
                    bringing the Equipment to working condition and returns
                    such Equipment to a repair facility specified by the
                    Company at the Company's expense for the examination
                    and warranty service (if applicable) to take place there.



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              If the Buyer does not follow the Company's commercially reasonable
              instructions in bringing the Equipment to working condition, all expenses
              ancillary to the examination and warranty shall be assumed by the Buyer.

              In addition, for Equipment not operated at the Company's, or Company's
              affiliates or subsidiaries, facilities, the warranty does not apply to:

              iii.   Damage resulting from accident, abuse, misuse, neglect,
                     improper handling or improper installation;

              iv.    Damage or loss of the product caused by undue physical or
                     electrical stress, including but not limited to excessive
                     moisture, corrosive environments, high voltage surges,
                     extreme temperatures, shipping, or abnormal working
                     conditions;

              v.     Damage caused by operator error or non-compliance with
                     the Company's instructions as to the storage, installation,
                     commissioning, electric powering, internet connectivity,
                     use or maintenance of the product or (if there are none)
                     good trade practice; or

              vi.    Damage or loss of functionality due to interoperability with
                     the Buyer's software and/or hardware.

        f.    Force Majeure. The warranties made in this Section do not apply to normal wear
              and tear and damage or loss of the product caused by force majeure events
              pursuant to Section 1 2.

        g.    Other Warranties Excluded. All warranties, conditions, and other representations
              implied by statute or common law are excluded from the Agreement to the fullest
              extent permitted by law.

   6.   Representations, Warranties and Acknowledgements of the Buyer. The Buyer warrants,
        represents, and covenants to Company that:

        a.    The Buyer shall comply with all applicable laws and regulations
              governing:

              1.     The use of the Equipment; and

               11.   The sale, export and re-export of the Equipment;

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        b.     The Buyer shall distribute, deploy, and utilize the Equipment solely in
               compliance with all applicable laws and regulations;

        c.     The Buyer shall not (and shall not permit any person to) modify the
               Equipment, or reverse, assemble, reverse compile, or otherwise reverse
               engineer the Equipment for the purpose of attempting to discover any
               underlying proprietary information.

   7.   Limitation of Liability.

        a.     Consequential Damag es. The Company shall not, under any
               circumstances, be liable, whether in tort (including without limitation for
               negligence or breach of statutory duty howsoever arising), contract, or
               otherwise for: loss of profits, loss of business, depletion of goodwill or
               similar losses, loss of anticipated savings, loss of goods, loss of contract,
               loss of use, loss or corruption of data or information, or any special,
               indirect, consequential or pure economic loss, costs, damages, charges or
               expenses.

        b.     Clerical Errors. Any typographical, clerical, or other error or omissio_n in
               any sales literature, quotation, price list, acceptance of offer, invoice or
               purchase order, or other document or information issued by the Company
               shall be subject to correction without any liability on the part of the
               Company.

        c.     Limitation of Damages. Either Party's total damages in contract, tort
               (including without limitation negligence and breach of statutory duty
               howsoever arising), misrepresentation (whether innocent or negligent),
               restitution or otherwise, arising in connection with the performance or
               contemplated performance of the Agreement shall be limited to the
               amount paid by the Buyer for the Equipment.

        d.     Exclusions. Nothing in this Agreement excludes or limits the liability of
               either Party for:

               i.      Death or personal injury caused by that Party's negligence;
                       or

               ii.     Fraud or fraudulent misrepresentation, gross negligence, or
                       willful misconduct.


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    8.    Indemnification. The Buyer agrees to indemnify, defend, and hold the Company, its
          officers, directors, employees and agents, harmless from all loss, liability, claims or
          expenses (including reasonable attorneys' fees) arising out of any breach of the
          Agreement by the Buyer.

    9.    Confidentiality. The Buyer acknowledges and understands that it may gain access to the
          Company's personnel information, payroll information, profit and loss statements, budget
          statements and projections, balance sheets, client information, member financial
          information, marketing plans and strategies, market research, client and other mailing
          lists, annual operating plans, strategic plans, business transactions, pending negotiations,
          supplier or vendor relationships, contract terms, and pricing and cost information, and
          other information developed or obtained by the Company that is not generally available
          to the industry in which the Company competes ("Confidential Information"). The Buyer
          shall not:

          a.     Disclose any such Confidential Information to any person or entity, except
                 to the Buyer's representatives, advisors, or other agents who need to know
                 the Confidential Information to assist the Buyer, or act on Buyer's behalf,
                 to exercise its rights or perform its obligations under this Agreement; or

          b.     Use the Confidential Information, or permit it to be accessed or used, for
                 any purpose other than to exercise Buyer's rights or perform its
                 obligations under this Agreement.

    10.   Non-Circumvention and Non-Solicitation.

          a.     Non-Circumvention. The Buyer agrees not to contact persons or entities
                 introduced by the Company without the prior written consent of the
                 Company. Furthermore, the Buyer agrees that the Buyer shall not utilize
                 confidential information nor consummate any transaction, for fees or
                 otherwise, with any entity (including such entity's affiliates and related
                 entities) introduced by the Company without providing compensation to
                 the Company in an amount deemed acceptable to the Company at the
                 Company's sole discretion. The provisions of this Subsection shall apply
                 during the term of this Agreement and for two (2) calendar years
                 thereafter.

          b.     Non-Solicitation. During the term of this Agreement, and for two (2)
                 calendar years thereafter, the Buyer shall not induce any employee or
                 contractor of the Company to leave the Company's employ or contractual
                 relationship or hire any such employee or contractor without the

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                 Company's prior written consent. Notwithstanding, an employee or
                 contractor shall not be deemed to have been solicited or as a result hired
                 for employment or contract solely as a result of a general public
                 advertisement or other such general solicitation of employment.

          In the event of breach of this Section 10 by the Buyer, directly or indirectly, the Company
          shall be entitled to a legal monetary penalty equal to the maximum fee the Buyer should
          realize from such a transaction plus any and all expenses, including, without limitation,
          all legal costs and expenses incurred to recover the lost revenue.

   11.    Enforcement. The Buyer agrees that irreparable damage for which monetary damages or
          other legal remedies, even if available, would not be an adequate remedy, would occur in
          the event of a breach of Sections 9 and 10. The Buyer further acknowledge and agree
          that:

          a.     The Company will be entitled, in addition to any other remedy to which it
                 is entitled at law or in equity, to an injunction, specific performance, and
                 other equitable relief to prevent breaches (or threatened breaches) of those
                 Sections and to enforce specifically the terms of those Sections;

          b.     The provisions of those Sections are not intended to and do not adequately
                 compensate the Company for the harm that would result from a breach of
                 those Sections, and will not be construed to diminish or otherwise impair
                 in any respect the Company's right to an injunction, specific performance,
                 and other equitable relief; and

          c.     The right of specific enforcement is an integral part of this Agreement and
                 without that right, the Company would not have entered into this
                 Agreement.

    12.   Force Majeure. In no event shall either Party be responsible or liable for any failure or
          delay in the performance of its obligations arising out of the Agreement caused by,
          directly or indirectly, forces beyond its control, including, without limitation, strikes,
          work stoppages, accidents, acts of war or terrorism, civil or military disturbances, nuclear
          or natural catastrophes or acts of God, epidemics, pandemics and related health disasters,
          and interruptions, loss, local, state, or national government acts, delays or conflicts with
          shippers, or malfunctions of utilities, communications, or computer (software and
          hardware) services.

    13.   Intellectual Property Rights.




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          a.    No Transfer ofIntellectual Property Rights. The Buyer acknowledges that
                all Intellectual Property Rights used by or subsisting in the Equipment are
                and shall remain the sole property of the Company or its affiliates or (as
                the case may be) third party rights. For purposes of this Section,
                "Intellectual Property Rights" shall mean patents, utility models, rights to
                inventions, copyright, trade-marks and service marks, business names and
                domain names, rights in get-up and trade dress, goodwill and the right to
                sue for passing off or unfair competition, rights in designs, database rights,
                rights to use, and protect the confidentiality of, confidential infomiation
                (including know-how and trade secrets), and all other intellectual property
                rights, in each case whether registered or unregistered and including all
                applications and rights to apply for and be granted, renewals or extensions
                of, and rights to claim priority from, such rights and all similar or
                equivalent rights or forms of protection which subsist or will subsist now
                or in the future in any part of the world.

          b.    Nondisclosure of Copyright. The Company or its affiliates shall retain the
                property and copyright in all documents supplied to the Buyer in
                connection with the Agreement and it shall be a condition of such supply
                that the contents of such documents shall not be communicated either
                directly or indirectly to any other person, firm or company, other than the
                Buyer's officers, employees, agents, and advisors without the prior written
                consent of the Company.

          c.    Distribution of Intellectual Property. The Buyer shall not market,
                distribute, white-label, license, or otherwise make available any
                intellectual property subject to this Section to or through any person or
                company without:

                i.      The express prior written approval of the Company and

                ii.     First entering into a written licensing agreement with such
                        person or company on terms and conditions that Buyer has
                        submitted to and have been approved by the Company and
                        designate the Company as an intended third-party
                        beneficiary of that agreement; provided, however, that
                        nothing in this Section shall limit the Buyer from freely
                        exercising its ownership rights to re-sell, rent, or
                        collateralize the Equipment.

    14.   Term and Termination.

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          a.     Term. This Agreement shall commence on the date the Notice of Completion of
                 the Equipment is issued by the Company ("Commencement Date") for a term in
                 perpetuity unless terminated in accordance with the provisions of the Agreement.

          b.     Termination. Any attempted termination not in accordance hereof, or as elsewhere
                 stated in this Agreement, shall be void ab initio and deemed a material breach of
                 this Agreement by the terminating Party.

                 1.       Termination for Cause. Either Party may terminate this
                          Agreement with immediate effect via written notice to
                          other Party in the event of material breach of the
                          Agreement by the non-terminating Party; provided,
                          however, that the terminating Party shall first issue the non­
                          terminating Party a written notice to cure and provide the
                          non-terminating Party thirty (30) calendar days to effect
                          such cure.

                 11.      Termination via Mutual Agreement. The Parties may
                          terminate this Agreement with immediate e_ffect upon
                          having executed a written instrument stating such a
                          termination.

    15.   Notices. All notices, requests, consents, claims, demands, waivers, and other
          communications hereunder shall be in writing and (if issued via mail) addressed to either
          Party at the address set forth in this Section. All notices shall be delivered by nationally
          recognized overnight courier (with all fees prepaid) or electronic mail if adequate
          confirmation of receipt is provided. Except as otherwise provided in this Agreement, a
          notice is effective only if (i) the receiving Party has received the notice and (ii) the Party
          giving the notice has complied with the requirements of this Section. Notice is deemed
          received:

          a.     In the case of nationally recognized overnight courier, the date and time
                 the courier confirms delivery; or

          b.     In the case of email, the date and time the recipient's server receives the
                 email.

           Bit5ive LLC:                               12301 NW 112 Ave Suite 112
                                                      Medley, FL 33178
                                                      Email: andrea@bit5ive.com

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          BEEQB LLC:                                 212 NW 4th Ave,
                                                     Hallandale Beach, FL 33009
                                                     Email: radmir. zaripov@gmail.com
                                                     Attention: Radmir Zaripov




   16.    Severability. If any term or provision of this Agreement is held invalid, illegal, or
          unenforceable in any jurisdiction, such invalidity, illegality, or unenforceability shall not
          affect any other term or provision of this Agreement or invalidate or render unenforceable
          such term or provision in any other jurisdiction.

   17 .   Entire Agreement. This Agreement, together with any other documents incorporated
          herein by reference and related schedules, constitutes the sole and entire agreement of the
          Parties to this Agreement with respect to the subj ect matter contained herein, and
          supersedes all prior and contemporaneous understandings, agreements, representations,
          and warranties, both written and oral, with respect to such subject matter.

   18.    Assignment. Neither the Agreement nor any of the rights, interests, or obligations
          hereunder may be assigned by either Party (whether by operation of law or otherwise)
          without the prior written consent of the non-assigning Party. Notwithstanding the
          preceding s entence, the Company may assign the Agreement to its affiliates, parent,
          subsidiaries, or successors-in-interest without the Buyer's consent via written notice to
          the Buyer. Furthermore, the Agreement shall be binding upon and inure to the benefit of
          and be enforceable by the Parties and their respective successors and assigns.

   19.    Third Party Rights. A person who is not a party to this Agreement has no right to enforce
          or to enjoy the benefit of any term of this Agreement and consequently no one other than
          a party to this Agreement, their successors and permitted assignees, shall have any right
          to enforce any of its terms.

   20.    Waiver. No failure by either Party to insist upon the strict performance of any covenant,
          duty, agreement, or condition of this Agreement or to exercise any right or remedy
          consequent upon a breach thereof shall constitute waiver of any such breach of any other
          covenant, duty, agreement, or condition.

   2 1.   Non-Disparagement. Each Party agrees to take no action which is intended, or would
          reasonably be expected, to harm the other Party or its reputation or which would
          reasonably be expected to lead to unwanted or unfavorable publicity to the other Party.
          Subject to the provisions of Section 8, such actions include, without limitation,
          disparaging remarks, comments, or statements that impugn the character, honesty,


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          integrity, morality or business acumen or abilities in connection with any aspect of the
          operation of the other Party.

          The provisions of this Section do not extend to statements made by either Party when
          compelled by an authority of law; provided, however, that the Party making such
          statement informs the other Party (unless explicitly ordered not to do so by such legal
          authority).

   22.    Governing Law. This Agreement and all related documents including all schedules
          attached hereto, and all matters arising out of or relating to this Agreement, whether
          sounding in contract, tort, statute, or otherwise, are governed by, and construed in
          accordance with the laws of the State of Florida (including its statutes of limitations and
          choice of law statutes), without giving effect to the conflict of laws provisions thereof to
          the extent such principles or rules would require or permit the application of the laws of
          any jurisdiction other than those of the State of Florida.

    23.   Dispute Resolution. Unless the Parties agree otherwise in writing, in the event a dispute
          arises from, or related to, the terms or performance of the Agreement, the Parties shall
          engage in direct negotiation.

          In the event such negotiations fail to an;iicably resolve any remaining dispute(s), the
          Parties shall proceed to binding arbitration before a single arbitrator of the American
          Arbitration Association ("AAA"). In the event the Parties fail to agree on the identity of
          the arbitrator, the arbitrator shall be assigned to the Parties by the AAA.

          Any arbitration shall be conducted in accordance with the AAA's Commercial Arbitration
          Rules and Mediation Procedures.

          Unless otherwise agreed to by the Parties in writing, the seat of arbitration shall be
          Miami, Florida.

          The Parties shall bear their own dispute-related expenses.

    24.   Jury Trial Waiver. The Parties hereby irrevocably waive, to the fullest extent permitted by
          applicable law, any and all right to trial by jury in any legal proceeding arising out of or
          relating to this Agreement or the transactions contemplated hereby.

    25.   Class Action Waiver. Any proceedings to resolve or litigate any dispute arising from the
          provisions of this Agreement will be conducted solely on an individual basis. Neither
          Party will seek to have any dispute heard as a class action, private attorney general



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         action, or in any other proceeding in which either party acts or proposes to act in a
         representative capacity.

   26.   Counter_parts. The Parties may execute this Agreement in multiple counterparts, each of
         which shall be deemed an original, and all of which taken together shall constitute one
         and the same instrument. Delivery of an executed counterpart of this Agreement via
         facsimile, electronic mail in portable document format (".pdf'), or by any other electronic
         means shall have the same effect as delivery of an executed original of the Agreement.




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    IN WITNESS WHEREOF, the Parties have executed this Sale and Purchase Agreement as of
    the Effective Date.


    The Company: UPTIME ARMORY, LLC


    B y: __________
           Robert Collazo _
              Print Name


                  Signature

            Founder and CEO
                    Title




    The B uyer : BEEQB LLC


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                                SCHEDULE A
          DESCRIPTION OF EQUIPMENT, PURCHASE AND TRANSFER DETAILS


   Description of Equipment:
   Five (5) 40' Standard shipping container, modified for use in Crypto Mining. Each container will
   be designed to hold and operate 280 S 1 9 Pro Antminers manufactured by Bitmain within 5% of
   specifications.
   The major modifications include:
   Structural: Long side louvers with additional vertical supports; entry door; framing for fans at
   door short end.
    Interior: Rubber flooring; foamboard insulation; LED lighting; environment meters; two security
    cameras.
   Racking: Four large industrial strength racks, each rack having 10 vertical shelves and fitting 7
   miners per shelf. Each Pod5ive will be outfitted with 2 racks per side with a design that permits
   the miners' exhaust fans to be embedded in the foamboard insulation.
   Networking: Shielded Cat Se cabling from each miner to a Secondary network switch with one
   Secondary switch per rack. All Secondary switches will be aggregated via Cat Se into an
   aggregator Primary switch. Customer will connect its own network into a router aggregator to
   the Primary switch. A server computer is provided using the Pod5ive monitoring software, or the
   customer's own software.
   Airflow: 4 direct drive fans with 10 HP motors running on an independent Variable Frequency &
   Adjustable Speed Drive on a 60A 3P 41 5V breaker, each with a maximum of 29,500 cfm each.
   Intake air filtration and an evaporative cooler will process the incoming air.
   Electrical: The Pod5ive will be delivered ready to accept 41 5V 3-phase electricity up to 2000A
   from a transformer. The Pod5ive will have 2 main breakers of 1 000A each. Customer will
   provide electric service to the connection bar from the transformer to the block inside each main
   breaker.
    Each Pod5ive will have 2 breaker panels feeding 30 smart power distribution units (3 per rack).
    Each PDU will have sufficient capacity to power 1 2 S1 9 miners at 240V and 1 2A. Networking
    equipment, evaporative cooler, security, server computer, sensors, and lights will be 1 20V circuit.


     he Estimated Completion Date shall be April 2022
     he Equipment shall be picked up at the following transfer location: 1 2301 NW 1 1 2 Ave Suite
    11 2, Medley, FL 331 78


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   NOTE: Purchase of Pod5ive containers does NOT include mining hardware, except as indicated
   above. The foregoing shall not be intended to include all features and modifications to create a
   Pod5ive. Additional specifications can be found in the attached brochure.




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